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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 22-776-GW-AFMx                                             Date      May 31, 2022
 Title             Jeremias Janko v. Life Insurance Company of North America




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                            None Present
                 Deputy Clerk                        Court Reporter / Recorder                   Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                         None Present                                          None Present
 PROCEEDINGS:                IN CHAMBERS - ORDER TO SHOW CAUSE RE SETTLEMENT


On May 31, 2022, Plaintiff Jeremias Janko filed a Notice of Settlement. The Court hereby vacates all
currently set dates, with the expectation that a dismissal will be filed within 30 days. The Court now sets
an order to show re: settlement hearing for July 7, 2022 at 8:30 a.m. The hearing will be vacated
provided a notice of dismissal is filed by noon on July 6, 2022.




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                                                               Initials of Preparer   JG
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